                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 ALYSSA ISEMAN, and POSITIVELY                       )
 MEDIEVAL, LLC,                                      )
                                                     )
               Plaintiffs,                           )
                                                     )
 v.                                                  )      No. 3:19-CV-365-TRM-DCP
                                                     )
 M. JACOB WERNER,                                    )
                                                     )
               Defendant.                            )

                                             ORDER

        This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court,

 and Standing Order 13-02.

        On December 11, 2020, the Court entered an Order [Doc. 52], allowing defense counsel to

 withdraw from this case. The Court also ordered Defendant to update the Court within ten (10)

 days as to whether he intends to proceed pro se. Defendant did not provide an update to the Court

 as directed, and no counsel has entered a notice of appearance on behalf of Defendant.

        Accordingly, Defendant is DEEMED to be proceeding pro se in this matter. Defendant is

 DIRECTED to the Court’s previous Order [Doc. 52], which explains his obligations as a pro se

 party. The Court will set a telephonic status conference in this matter for January 28, 2021, at

 1:30 p.m. The Clerk will send the parties the call-in information for the telephonic status

 conference.

        IT IS SO ORDERED.

                                                     ENTER:

                                                     __________________________
                                                     Debra C. Poplin
                                                     United States Magistrate Judge




Case 3:19-cv-00365-TRM-DCP Document 53 Filed 01/11/21 Page 1 of 1 PageID #: 546
